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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA

                                      Alexandria Division

                                                     )
UNITED STATES OF AMERICA,
                                                     )
               v.                                    )        The Honorable Liam O’Grady
                                                     )
KIM DOTCOM, et al.,                                  )
                                                     )        Criminal No. 1:12-CR-3
       Defendants                                    )
                                                     )

                                 [PROPOSED] ORDER
                                    I.
       Specially Appearing Defendant Megaupload Limited (“Megaupload”) moves this Court

for leave to file a Supplemental Brief Regarding Rule 41(g) Hearing and a Motion to Unseal

Search Warrant Materials. The COURT, having considered Megaupload’s motion, and being

fully advised in the premises, finds that supplemental briefing regarding (1) Megaupload’s

participation in a Rule 41(g) hearing, (2) whether the scope of the Rule 41(g) hearing should

include testimony regarding search warrant materials, and (3) whether certain search warrant

materials should be unsealed, “would aid the decisional process,” Perry-Bay v. City of Norfolk,

Va., 678 F. Supp. 2d 348, 374 (E.D. Va. 2009). Accordingly, it is hereby

       ORDERED that said motion is GRANTED.

       Megaupload shall have leave to file a Supplemental Brief Regarding Rule 41(g) Hearing

and a Motion to Unseal Search Warrant Materials, and the briefs proposed by Megaupload are

accepted as filed nunc pro tunc as of January 2, 2013.



Date: _____________________                         ___________________________
      Alexandria, Virginia                          The Honorable Liam O’Grady
                                                    United States District Judge
